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- UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA —

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UNITED STATES OF AMERICA : OR. NO. 3:23-CR- fast

v.
~ (Judge ) -
DAWN TROTTA
. . (electronically filed)
Defendant. Do, | FILED
. oO SCRANTON

“INFORMATION MAY 30 me
- PER___

THE UNITED STATES ATTORNEY CHARGES: DEPUTY CHAK
~ ,  COUNT1 |
18 U.S.C. §371 ‘
(Conspiracy to Commit Theft of Major Artwork, Concealment and
Disposal of Major Artwork, and Interstate Transportation of Stolen
Property) .
I. ~ Introduction.
At all times material to the Information: . . ~.

1. The Defendant is a resident of the Commonwealth of
Pennsylvania.

2 A “museum” as defined in Title 18, United States Code,
Section 668, is an organized and permanent institution, the activities of
which affect interstate and foreign commerce, that is (a) situated in the
United States; (b) is established for an essentially educational and
aesthetic purpose; (3) has a professional staff, and: (4) owns, utilizes, and -

cares for tangible items that’ are exhibited to the public on a regular
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schedule.

3. An “object of cultural heritage,” as defined in Title 18, United
States Code, Section 668, is an object that is either over 100 years old and
worth in excess-of $5,000 or that is less than 100 years old and worth at
least $100,000.

4. The following institutions are all situated in the United ._
States, have been established for essentially educational or aesthetic
purposes, have professional staffs, own, utilize, or care for tangible items
‘ that are exhibited to the public ona regular schedule, and are “museums”
as defined in Title 18, United States, Code, Section 668:

a) The Roger Maris Museum located in Fargo, North Dakota;

b) The Hillwood Estate, Museum, and Gardens located in

Washington, DC.:

5. The following items are “objects of cultural heritage,” as
defined in Title 18, United States Code, Section 668, in that they are
either over 100 years old and worth in excess of $5,000 or are less than ©
100 years old and worth at least $100,000:

a) The 1961 Hickok Belt belonging to Roger Maris; and

b) The 1961 MVP Trophy belonging to Roger Maris; -
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6. From in or about August of 1999 and continuing through in or
about April of 2019, in the Middle District of Pennsylvania, the District of
North Dakota, the District Columbia, and elsewhere, the Defendant,

DAWN TROTTA,

did knowingly, intentionally, and unlawfully combine, conspire,
confederate, and agree with others, to commit an offense against the
United States, that is: to steal from the care, custody, and control of
various museums certain objects of cultural heritage; knowing that
certain objects of cultural heritage had been stolen or obtained by fraud, if ©
in fact the object had been stolen or obtained by fraud from the care,
custody, or control of a museum, received, concealed, exhibited, or
disposed of the objects, and: transported in interstate or foreign commerce
goods, wares, merchandise, securities or money, of the value of $5,000 or
more, knowing the same to have been stolen, converted, or taken by
fraud, in violation of Title 18, United States Code, Section 668(b)(1), Title
18, United States Code, Section 668(b)(2), and Title 18, United States
Code, Section 2314. .
II. Manner and Means and Purpose of the Conspiracy

- 7. During the aforementioned period of time, it was part of the

conspiracy for the conspirators to conduct research in order to locate
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collections which contained valuable pieces of artwork, antiques, sports
memorabilia, and other items, many of which constituted objects of
‘cultural heritage.

8. It was part.of the conspiracy that the conspirators made

_ several trips to various institutions, many of which constituted museunis,
where the above-described objects were displayed, for the purpose of
gaining knowledge of security measures, access points, exit points, and
the physical displays of the above-described objects. The conspirators
recorded these trips for the purpose of later reviewing the above-described
security measures prior to the theft of the objects of cultural heritage.

9. It was part of the conspiracy that the conspirators visited the
museums and other repositories, broke into the museums and other

‘repositories, smashed, or-destroyed the protective display cases, and.stole |
and removed objects of cultural heritage.

10. It was part of the conspiracy that the conspirators would meet
at various pre-arranged locations to itemize. distribute, and break-down
the objects of cultural heritage between the conspirators. The
conspirators utilized three locations in particular, a garage owned by

DAWN TROTTA, the residence of another conspirator, and a bar owned

and operated by a third conspirator, all located in Lackawanna County,
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Pennsylvania, within the Middle District of Pennsylvania.

11. It was part of the conspiracy that the conspirators would strip
the objects of cultural heritage of the gemstones and other valuable
attachments prior to melting the objects down into easily transportable
bars, disks, and small pieces of the valuable metals.

12. It was part of the conspiracy that the conspirators would
transport the above-described gemstones and valuable metals to
individuals both known and unknown to the United States, located within
New York City, in the Southern District of New York, to sell the objects
for cash. —

13. «It was part of the conspiracy that the conspirators would sell
objects of cultural heritage which could not be broken down, such as
antique firearms and paintings, to each other and to various individuals, |
both known and unknown to the United States, for cash.

14. It was part of the conspiracy that the conspirators would
transport the above-described antique firearms and paintings to other
residences belonging to the conspirators in order to conceal the objects
from law enforcement investigators.

Il. Overt Acts

15. In furtherance of the conspiracy and in order to effect the
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objects thereof, one or more of the conspirators committed and caused to

-be committed the following overt acts, in the Middle District of

Pennsylvania, and elsewhere:

a) Prior to December 31, 2015, Dawn TROTTA rented a vehicle
from the Wilkes-Barre/Scranton International Airport with the
purpose of allowing three fellow conspirators to use the rental
vehicle in a burglary of the Hillwood Estate, Museum, and
Gardens.

b) Prior to July 26, 2016, Dawn TROTTA rented a vehicle from
the Wilkes-Barre/Scranton Airport in Avoca, Pennsylvania, for

_ two fellow conspirators to use in the planned ‘theft from the

Roger Maris Museum.

All in violation of Title 18, United States Code, Section 371.

GERARD M. KARAM
United States Attorney

Assistant United States Attorney

Date: SAs/reas
